Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 1 of 33 Page ID #:1



  1   Jeffrey H. Rutherford (No. 181695)
      KENDALL, BRILL & KELLY, LLP
  2
      10100 Santa Monica Blvd., Suite 1725
  3   Los Angeles, California 90067
      Telephone: (310) 556-2700
  4
      Facsimile: (310) 556-2705
  5   Email:      jrutherford@kbkfirm.com
  6
      Nimrod Haim Aviad (No. 259705)
  7   CROWELL & MORING LLP
      515 South Flower Street, 40th Floor
  8
      Los Angeles, California 90071
  9   Telephone: (213) 622-4750
      Facsimile: (213) 622-2690
 10
      Email:      naviad@crowell.com
 11
      Attorneys For Petitioner,
 12   Yevgeny Selivanov
 13
                           UNITED STATES DISTRICT COURT
 14
                         CENTRAL DISTRICT OF CALIFORNIA
 15
 16                                 WESTERN DIVISION

 17   YEVGENY SELIVANOV,
 18                   Petitioner,            PETITION FOR WRIT OF HABEAS
 19         v.                               CORPUS UNDER 28 U.S.C. § 2254
 20   XAVIER BECERRA, Attorney
      General, State of California,
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                      Respondent.
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Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 2 of 33 Page ID #:2



  1         Petitioner Yevgeny (Eugene) Selivanov, by his counsel of record, petitions
  2   this Court for a Writ of Habeas Corpus, and by this verified petition sets forth the
  3   following facts and causes for issuance of the writ.
  4
  5   Dated:   June 12, 2018                  Respectfully submitted,
  6
                                              KENDALL, BRILL & KELLY, LLP
  7
                                              /s/Jeffrey H. Rutherford
  8
                                               Jeffrey H. Rutherford
  9
 10                                           CROWELL & MORING LLP
 11                                           /s/Nimrod Haim Aviad
 12                                            Nimrod Haim Aviad
 13
                                              Attorneys for Petitioner,
 14                                           YEVGENY SELIVANOV
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Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 3 of 33 Page ID #:3



  1                                           TABLE OF CONTENTS
  2
  3    INTRODUCTION .................................................................................................... 9
  4    STATEMENT OF FACTS....................................................................................... 9
  5           A.       The Entities Involved: Ivy Academia Charter School and
                       Alternative Schools, Inc. ....................................................................... 9
  6
              B.       The Charges Under Review ................................................................ 11
  7
                      1.       The American Express Card Expenditures ................................ 11
  8
                      2.       The Capital Improvement Loan and Its Repayment .................. 14
  9
              C.       California Charter School System ...................................................... 17
 10
                      1.       The Charter School Act of 1992 ................................................ 17
 11                   2.       The Power to Determine How Charter School Funds are
                               Spent........................................................................................... 17
 12
      PROCEDURAL HISTORY AND JURISDICTIONAL ALLEGATIONS ............ 18
 13
              A.       Conviction on which petition is based ................................................ 18
 14
              B.       Appeal to the California Court of Appeal ........................................... 19
 15
              C.       Petition for Review in the California Supreme Court ........................ 19
 16
              D.       Jurisdiction and Venue ........................................................................ 20
 17
      STANDARDS UNDER THE ANTI-TERRORISM AND EFFECTIVE DEATH
 18       PENALTY ACT OF 1996 (“AEDPA”) ........................................................ 21
 19   CLAIMS FOR RELIEF ........................................................................................... 22
 20    Claim One: Mr. Selivanov’s right to due process was violated because the
             California court of Appeal retroactively expanded California’s
 21          embezzlement law thereby eliminating the required fair warning that a
             criminal statute must provide as to the conduct that it prohibits ................. 22
 22
       Claim Two: Mr. Selivanov’s right to a jury trial was violated because his
 23         criminal sentence was increased beyond its statutory limits based on
            facts found to be true by the trial judge and not by the jury beyond a
 24         reasonable doubt .......................................................................................... 27
 25           A.       Procedural Background ....................................................................... 27
 26           B.       Argument............................................................................................. 28
 27                   1.       The trial court’s section 514 finding increased Mr.
                               Selivanov’s punishment by removing the offenses from
 28                            “wobbler” status ......................................................................... 29

                                                                 3
Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 4 of 33 Page ID #:4


                      2.      The trial court’s section 514 finding increased Mr.
  1                           Selivanov’s punishment because it imposed mandatory
                              state prison incarceration ........................................................... 30
  2
                      3.      The trial court’s section 514 finding increased Mr.
  3                           Selivanov’s punishment because it barred Mr. Selivanov
                              from holding public office ......................................................... 31
  4
      PRAYER FOR RELIEF .......................................................................................... 32
  5
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
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 21
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 23
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 28

                                                             4
Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 5 of 33 Page ID #:5



  1                                        TABLE OF AUTHORITIES

  2                                                                                                             Page(s)
  3   Cases
  4   Alleyne v. United States,
  5      570 U.S. 99 (2013) .............................................................................. 9, 28, 29, 30
  6   Apprendi v. New Jersey,
  7     530 U.S. 466 (2000) ..................................................................................... passim

  8   Bouie v. City of Columbia,
        378 U.S. 347(1964) ................................................................................... 9, 24, 25
  9
 10   Brooks v. North Carolina Dept. of Corrections,
         984 F.Supp. 940 (1997) ....................................................................................... 21
 11
      Glover v. State of N.C.,
 12      301 F. Supp. 364 (E.D.N.C. 1969) ...................................................................... 21
 13
      Grayned v. City of Rockford,
 14     408 U.S. 104 (1972) ............................................................................................ 26
 15
      Nunes v. Mueller,
 16     350 F.3d 1045 (9th Cir. 2003) ............................................................................. 21
 17   People v. Hodges,
 18     153 Cal. App. 2d 788 (1957) ............................................................................... 23

 19   People v. McClain,
        140 Cal. App. 2d 899 (1956) ............................................................................... 23
 20
 21   People v. Selivanov,
        5 Cal. App. 5th 726 (2016) ........................................................................... passim
 22
      People v. Sisuphan,
 23
        181 Cal. App. 4th 800 (2010) ........................................................................ 23, 25
 24
      People v. Stanfill,
 25     76 Cal. App. 4th 1137 (1999) .............................................................................. 29
 26
      People v. Superior Court (Alvarez),
 27     14 Cal.4th 968 (1997) .......................................................................................... 29
 28

                                                               5
Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 6 of 33 Page ID #:6



  1   People v. Wilcox,
        217 Cal. App. 4th 618 (2013) .............................................................................. 31
  2
      United States v. Lanier,
  3     520 U. S. 259 (1997) ....................................................................................... 9, 24
  4
      Wells v. One2One Learning Found.,
  5     39 Cal. 4th 1164 (2006) ................................................................................. 17, 18
  6
      Wilson v. State Bd. of Educ.,
  7      75 Cal. App. 4th 1125 (1999) .............................................................................. 17
  8
  9   Statutes
 10   28 U.S.C. § 2254....................................................................................................... 21
 11
      Cal. Educ. Code § 47601 .......................................................................................... 18
 12
      Cal. Educ. Code § 47607 .......................................................................................... 17
 13
 14   Cal. Educ. Code § 47610 .......................................................................................... 17

 15   Cal. Educ. Code § 47633 .......................................................................................... 18
 16   Cal. Educ. Code § 47634.1 ....................................................................................... 18
 17
      California Penal Code § 186.10 ................................................................................ 18
 18
      California Penal Code § 489 ..................................................................................... 29
 19
      California Penal Code § 504 .............................................................................. passim
 20
 21   California Penal Code § 514 .............................................................................. passim

 22   California Penal Code § 1170(h) .............................................................................. 31
 23   California Penal Code § 3450 et seq. ....................................................................... 20
 24
      California Revenue and Taxation Code § 19705(a) ................................................. 18
 25
 26
 27
 28

                                                                  6
Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 7 of 33 Page ID #:7



  1   Other Authorities

  2   Couzens & Bigelow, Felony Sentencing After Realignment (July 2013
        rev.) ...................................................................................................................... 30
  3
  4   CALCRIM 1806 ....................................................................................................... 23

  5   Witkin, Cal. Crim. Law (4th) (2012) ........................................................................ 23
  6
  7
  8
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 18
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 23
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                                                                     7
Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 8 of 33 Page ID #:8



  1                               TABLE OF EXHI BI TS
  2
  3   Trial Exhibit 1:    I vy Academia Charter Petition, October 2003
  4   Trial Exhibit 2:    I vy Academia Charter Renewal, submitted M ay 22, 2007
  5   Trial Exhibit 6:    Articles of I ncorporation, Alternative Schools, I nc.
  6   Trial Exhibit 13:   Select Board Agendas and M inutes
  7   Trial Exhibit 17:   American Express Charges Schedule
  8   Trial Exhibit 24:   Lease, M arch 30, 1984, between A.J. Levine and Amoroso
                          Development Company, I nc.; First Amendment to Lease
  9
      Trial Exhibit 25:   Standard Sublease M ulti-Tenant, June 5, 2004, between
 10                       J& N Amoroso Family I nvestments and Academy Just for
 11                       Kids
 12   Trial Exhibit 26:   Assignment of Assumption of Lease, September 1, 2004,
                          between Academy Just for Kids and 26 Alternative
 13                       Schools; Guarantee of Sublease; Addendum to Standard
 14                       Sublease; Second Amendment to Sublease
 15   Trial Exhibit 31:   Entity Documents for Loan #3000700 Dated June 1, 2006
                          and Change in Terms Dated August 7, 2006 & M arch 2,
 16                       2009
 17   Trial Exhibit 73:   I vy Academia Audited Financial Statements, June 30, 2005
 18   Trial Exhibit 74:   I vy Academia Audited Financial Statements, June 30, 2008
 19   Trial Exhibit 202: I vy Academia Audited Financial Statements, June 30, 2006
 20   Trial Exhibit 205: I vy Academia Audited Financial Statements, June 30, 2007
 21   Trial Exhibit 214: QuickBooks excerpt, De Soto Campus Rent & Lease, July
 22                      2007–June 2008

 23   Trial Exhibit 250: I vy Academia Audited Financial Statements, June 30, 2009

 24   Trial Exhibit 251: I vy Academia Audited Financial Statements, June 30, 2010

 25   Trial Exhibit 313: M arket Rent Analysis, 6051 De Soto Avenue, CBRE

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                                              8
Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 9 of 33 Page ID #:9



  1                                    INTRODUCTION
  2         Yevgeny (Eugene) Selivanov is before this Court because the State of
  3   California has punished him for conduct that was not criminal under California’s
  4   embezzlement law at the time he engaged in it, but rather was made criminal by the
  5   California Court of Appeal’s novel and retroactive expansion of the otherwise
  6   narrow and precise definition of that law. This retroactive expansion of
  7   California’s embezzlement law eliminated the required fair warning that a criminal
  8   statute must provide as to the conduct that it prohibits and thus violated Mr.
  9   Selivanov’s right to due process under the Fifth and Fourteenth Amendments.
 10   Bouie v. City of Columbia, 378 U.S. 347(1964); United States v. Lanier, 520 U. S.
 11   259, 266 (1997).
 12         Mr. Selivanov is also before this Court because his criminal sentence was
 13   increased beyond its statutory limits based on facts found to be true by the trial
 14   judge and not by the jury beyond a reasonable doubt as commanded by the Sixth
 15   and Fourteenth Amendments. Apprendi v. New Jersey, 530 U.S. 466 (2000);
 16   Alleyne v. United States, 570 U.S. 99 (2013).
 17         These constitutional violations entitle Mr. Selivanov to relief in this Court.
 18                               STATEMENT OF FACTS
 19         A.     The Entities Involved: Ivy Academia Charter School and
 20                Alternative Schools, Inc.

 21         1.     Ivy Academia Charter School was started by Mr. Selivanov and his
 22   wife Tatyana Berkovich to provide a quality public school education with an
 23   emphasis on entrepreneurship. [Ex. 1 at 3.] The original charter school application
 24   was submitted in October 2003. [Id. at 1.]
 25         2.     Ivy Academia opened its doors to students in September 2004. [4RT
 26   1539; Ex. 73 at 11.]1 Despite California’s budget woes, Ivy Academia was able to
 27
      1
         The Reporter’s Transcript (hereinafter, “RT”) in this case consists of 22
 28   volumes. The Clerk’s Transcript (hereinafter, “CT”) in this case consists of 27
                                                 9
Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 10 of 33 Page ID #:10



   1   offer: (1) small class sizes with a low student-to-teacher ratio; and, (2) academic
   2   enrichment classes such as music appreciation and foreign language instruction
   3   (Spanish, French, Mandarin and Russian) beginning in the first grade. [Ex. 2 at 1-
   4   6.] Ivy Academia petitioned for a renewed charter in July 2007. [4RT 1586, Ex. 2.]
   5   In June 2008, based on its successful first five years, Ivy Academia’s petition for
   6   renewal was approved by LAUSD and its charter renewed for five more years.
   7   [4RT 1529-30; 15RT 4819, 4649.]
   8         3.     Ivy Academia was regularly audited by the Charter Schools Division
   9   of LAUSD, and those audits included site visits, interviews with staff, parents,
  10   management, and board members, with a focus on governance and fiscal
  11   management. [4RT 1424, 1526-27, 1630-33; 14RT 4690-91.]
  12         4.     For all years in question, Ivy Academia was also audited by two
  13   independent accounting firms—first, by Anderson, Satuloff, Machado and
  14   Mendelsohn, CPAs, and, later, by Vicenti, Lloyd, and Stutzman LLP. Both of these
  15   independent accounting firms were approved to be charter school auditors by the
  16   California State Controller. [4RT 1587-92.] These independent accounting firms
  17   prepared publicly available, annual audited financial statements for Ivy Academia.
  18   [See Ex. 73 (FY 2005 Statement); Ex. 202 (FY 2006 Statement); Ex. 205 (FY 2007
  19   Statement), Ex. 74 (FY 2008 Statement); Ex. 250 (FY 2009 Statement); Ex. 251
  20   (FY 2010 Statement).] The annual audits were mandatory. [4RT 1587-88.]
  21         5.     Alternative Schools, Inc. was the non-profit public benefit corporation
  22   that operated Ivy Academia, and the owner of the funds Mr. Selivanov supposedly
  23   embezzled. Alternative Schools, Inc. was established on May 11, 2004 (after the
  24   charter school petition was submitted to and approved by LAUSD) for the purpose
  25   of operating Ivy Academia. [Ex. 6.]
  26
       volumes. For the Court’s convenience, petitioner attaches only the volumes cited to
  27
       in this petition. Each cite to the record begins with the number of the volume to
  28   which the citation is made.

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Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 11 of 33 Page ID #:11



   1         B.     The Charges Under Review

   2                1.    The American Express Card Expenditures
   3         6.     During his tenure at Ivy Academia, Mr. Selivanov used an American
   4   Express credit card (“AMEX Card”) for expenses connected with Ivy Academia.
   5   [9RT 3051.] The prosecution challenged Ivy Academia’s payment of some of Mr.
   6   Selivanov’s AMEX Card charges as embezzlement (count 2). The gist of the
   7   prosecution’s claim was that Mr. Selivanov fraudulently appropriated Ivy
   8   Academia’s property when Ivy Academia paid American Express for certain
   9   purchases Mr. Selivanov made with the AMEX Card. In particular, the prosecution
  10   challenged Mr. Selivanov’s use of the AMEX Card to pay for business meals and
  11   teacher appreciation events between the years 2005 and 2010, which were then paid
  12   for by Ivy Academia. 2 [9RT 3053-54; Ex. 17 (highlighting in yellow amounts
  13   “disallowed”).]
  14         7.     To support its allegations regarding the AMEX Card, the prosecution
  15   called Connie Delos Santos, a financial analyst at LAUSD-OIG and a CPA.3 [9RT
  16   3022-23.] Ms. Delos Santos testified that she reviewed Ivy Academia’s records,
  17   including AMEX Card statements, vendor credit card receipts, and Ivy Academia
  18   expense reports, and created a compilation of all the AMEX Card charges from
  19   January 2005 to January 2010. [9RT 3047; Ex. 17.] She then highlighted in yellow
  20   each purchase she deemed to be an inappropriate use of Ivy Academia’s funds
  21   given the funds’ purported “public” nature. [9RT 3053-54; 10RT 3389-91.]
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          The issue at trial was not whether these were, in fact, business-related meals and
  25   teacher appreciation events, but whether Ivy Academia’s funds should have been
  26   used to pay for them.
       3
          Ms. De Los Santos was a category “G” CPA. As such, she could not sign-off on
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       audit reports. [11RT 3660.] Her experience auditing charter schools was limited to
  28   two schools, including Ivy Academia. [10RT 3391.]

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Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 12 of 33 Page ID #:12



   1         8.     Ms. Delos Santos testified as to which AMEX Card purchases were
   2   inappropriate based on certain pre-determined criteria that she had devised. Ms.
   3   Delos Santos inexplicably disallowed all meals charged by Mr. Selivanov to the
   4   AMEX Card, unless the meal accompanied a business meeting lasting more than
   5   five hours, or unless the meal was related to a conference taking place away from
   6   Los Angeles. [10RT 3437-38.] She also disallowed all teacher appreciation events
   7   charged to the AMEX Card unless the event had a specifically delineated
   8   professional development component. [11RT 3659-60.]
   9         9.     Ms. Delos Santos could not cite to any particular rule, regulation, or
  10   statute that informed her decision to disallow these business-related meals and
  11   teacher appreciation events, 4 but noted that she did so because, in her opinion, the
  12   funds used to pay for the meals were “public funds,” and those, again, in her
  13   opinion, could not be used to pay for business-related meals and teacher
  14   appreciation events outside of the restrictions she had set. [Id.; 10RT 3414-20.]
  15         10.    The prosecution also presented testimony from Marina Pilyavskaya—
  16   Ivy Academia’s bookkeeper. [5RT 1815.] Ms. Pilyavskaya explained Ivy
  17   Academia’s process for review and approval of the AMEX Card expenses. She
  18   testified that when she received the monthly AMEX Card statement from American
  19   Express, she typed-up an itemized expense report according to the purchases
  20   reflected on the AMEX Card statement. She then asked Mr. Selivanov for his
  21   credit card receipts. [5RT 1852-53; 1937-38.] Once she received the receipts from
  22   Mr. Selivanov, Ms. Pilyavskaya attached them to the itemized expense report that
  23   she had typed up and submitted them both to Ivy Academia’s board member (and
  24   board treasurer) Arthur Sarkisian, for approval. [5RT 1853.] Only once the
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          Accordingly, it was undisputed at trial that no document existed that put Mr.
  28   Selivanov on notice as to Ms. De Los Santos’ arbitrary restrictions.

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Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 13 of 33 Page ID #:13



   1   expenses were approved by Mr. Sarkisian was the check to American Express
   2   issued. [5RT 1929.]
   3         11.      Ms. Pilyavskaya also testified that, as part of Ivy Academia’s
   4   mandatory annual audit, Ivy Academia’s independent auditors requested and
   5   received all documentation related to the American Express charges. Ms.
   6   Pilyavskaya provided the independent auditors with all the AMEX Card statements
   7   and the associated purchase receipts, as well as other documents the auditors
   8   requested, including board of directors’ minutes, contracts, bank statements, payroll
   9   documents, invoices, and checks. [5RT 1930-34.] Ms. Pilyavskaya testified that
  10   she never kept anything from the independent auditors, nor was she ever instructed
  11   to do so by Mr. Selivanov. [Id.]
  12         12.      Finally, the jury heard testimony from Aaron Eairleywine, a charter
  13   school financial overseer with the Charter Schools Division of LAUSD, who was
  14   responsible for the financial oversight of Ivy Academia, [4RT 1421] and from
  15   Patricia Smith, a representative of the Los Angeles County Office of Education’s
  16   finance department. [4RT 1671.]
  17         13.      Mr. Eairleywine testified that throughout the time he was responsible
  18   for Ivy Academia’s financial oversight, the school never received a rating lower
  19   than proficient for its financial operations—the second highest available rating.
  20   [4RT 1632.] Mr. Eairleywine also testified that he was aware, as early as 2006, that
  21   the AMEX Card was used to pay for various meals. [4RT 1583.] Nonetheless, Mr.
  22   Eairleywine never informed Mr. Selivanov that there was any concern within
  23   LAUSD regarding these AMEX Card expenditures, and never told Mr. Selivanov
  24   to stop making them, even when Ivy Academia’s charter was up for renewal. [4RT
  25   1584, 1587.]
  26         14.      Both Eairleywine and Smith were asked whether the expenditures at
  27   issue were permissible. Both testified that there is no blanket prohibition on these
  28   types of expenditures and that their propriety would depend on their circumstances.

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Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 14 of 33 Page ID #:14



   1   [See, e.g., 4RT 1610-11 (Eairleywine); 4RT 1694-1697 (Smith).] Both stated,
   2   however, that LAUSD and the Los Angeles County Office of Education generally
   3   did not classify “activities for the pleasure of faculty and teachers and staff such as
   4   bowling,” and “after hours dinners off campus” as expenses that charter schools and
   5   their operators were authorized to make. See People v. Selivanov, 5 Cal. App. 5th
   6   726, 751 (Ct. App. 2016), as modified on denial of reh’g (Dec. 13, 2016), review
   7   denied (Mar. 15, 2017).
   8                2.     The Capital Improvement Loan and Its Repayment
   9          15.   In 2006, Ivy Academia borrowed $600,000 from Western Commercial
  10   Bank to pay for tenant improvements at its 6051 De Soto campus (the “Western
  11   Commercial Bank Loan”). [Ex. 31; Ex. 13 at 46.] That loan was personally
  12   guaranteed by Mr. Selivanov—at no additional cost to Ivy Academia. [Ex. 31 at 11-
  13   14.]
  14          16.    The De Soto facility was originally made available to Ivy Academia
  15   for use through the help of AJFK LLC (and Mr. Selivanov and Ms. Berkovich) as
  16   the facility’s landlord was not willing to lease the facility directly to Ivy Academia,
  17   given that Ivy Academia had no financial track record. [Ex. 13 at 45; 8RT 2868-
  18   69.] AJFK LLC (Mr. Selivanov and Ms. Berkovich’s private company) therefore
  19   leased the facility for ten years, and Mr. Selivanov and Ms. Berkovich (as part of
  20   AJFK LLC’s lease) personally guaranteed that the rent would be paid. [Ex. 25.]
  21   The lease was not between the landlord and Ivy Academia. In fact, at no time was
  22   Ivy Academia in a direct lessee-lessor relationship with the landlord [8RT 2861,
  23   2869.]
  24          17.   From 2004 until 2007, AJFK LLC assigned the De Soto lease to Ivy
  25   Academia “at cost,” with no additional compensation for the risk that AJFK LCC
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Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 15 of 33 Page ID #:15



   1   (and, based on their guarantee, Mr. Selivanov and Ms. Berkovich) undertook. 5 [Ex.
   2   26; Ex. 13 at 45.]
   3         18.    On October 2, 2008, Ivy Academia’s board of directors discussed and
   4   voted on a new lease and loan arrangement that, among other things, changed the
   5   payments for the Western Commercial Bank Loan and the lease. Under the new
   6   lease and loan arrangement, eGeneration (previously AJFK LLC), the company
   7   jointly owned by Mr. Selivanov and Ms. Berkovich, assumed the Western
   8   Commercial Bank Loan in the amount of $520,000. At the same time, Ivy
   9   Academia’s lease payments to eGeneration for use of the De Soto facility were set
  10   at 90% of market, or $43,870.05 a month. 6 [Ex. 13 at 46.] In its discussion, the
  11   board of directors discussed the benefit of these changes to Ivy Academia,
  12   including the fact that it would allow the school to strengthen its balance sheet. [Id.]
  13         19.    Neither Mr. Selivanov nor Ms. Berkovich participated in the vote or
  14   the preceding board of directors’ discussion regarding the lease and loan
  15   arrangement. [Id.] After the transaction was approved by the board of directors, a
  16   contract to the same effect was drafted and signed by the relevant parties—
  17   Alternative Schools, Inc. (the operator of Ivy Academia) and eGeneration (Mr.
  18   Selivanov and Ms. Berkovich’s private company). [Ex. 13 at 47.] The agreement,
  19   entitled “Assignment Assumption of Lease,” was made effective retroactively, per
  20   the board of directors’ resolution, to July 1, 2007. [Ex. 13 at 46.]
  21
  22   5
          This type of “sub-lease” arrangement is common for charter schools in
  23   California, as many new charter schools cannot lease facilities themselves, and
  24   resort to dependence on their founders’ financial wherewithal for this purpose.
       [14RT 4663-64.]
  25   6
           The De Soto facility’s market rent value was submitted to the board of directors
  26   of Ivy Academia through the broker’s opinion of value of Lee & Associates, [Ex.
       13 at pp. 49-50], and confirmed at trial through the testimony of Robert Gutzman, a
  27
       licensed real-estate appraiser with the firm CB Richard Ellis. [18RT 5813; Ex. 313
  28   at 2-3.]

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Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 16 of 33 Page ID #:16



   1          20.   Under the Assignment Assumption of Lease agreement, Ivy Academia
   2   (the assignee) agreed to make monthly payments to eGeneration (the assignor)—or
   3   its designee—in the amount of $43,870.05 for the use of the De Soto facility and
   4   the lease guarantees. [Ex. 13 at 47.] In reality, Ivy Academia did not pay
   5   $43,870.05 to eGeneration. Rather, Ivy Academia paid eGeneration’s designees:
   6   making a rent payment each month to eGeneration’s landlord 7 and making a loan
   7   payment each month to Western Commercial Bank. [8RT 2720-21; 17RT 5522-
   8   23.]
   9          21.   Accordingly, Ivy Academia’s payments to the landlord and to Western
  10   Commercial Bank were recorded in the school’s QuickBooks as “rent” payments. 8
  11   [5RT 1947-48; Ex. 214.9] In other words, Ivy Academia continued to pay Western
  12   Commercial Bank for the Loan (as it did before), but each of those payments was
  13   deducted from Ivy Academia’s lease liability to eGeneration for use of the De Soto
  14   facility. [12RT 3916, 3923-24; 8RT 2727-28; 17RT 5525.]10 Ivy Academia’s
  15   continued payments to Western Commercial Bank were challenged by the
  16   prosecution as embezzlement under count 40.11
  17
       7
  18      J&N Amoroso was not the original owner of the property, but held it under a
       lease with the property’s master landlord, A.J. Levine. [8RT 2855; Ex. 24.]
  19   8
          No allegation was made that Ivy Academia’s books contained amounts that were
  20   incorrect.
  21   9
          Ivy Academia’s payments to J&N Amoroso were recorded in the QuickBooks as
  22   payments to Big Valley Self-Storage. [Ex. 214.] Big Valley Self-Storage was a
       division of J&N Amoroso. [7RT 2413.]
  23   10
          Ivy Academia’s payments to J&N Amoroso and Western Commercial Bank did
  24   not total $43,870.05. The remaining lease liability to eGeneration was not paid to
       eGeneration; instead, it was booked as debt on Ivy Academia’s books. [12RT
  25
       3916.]
  26   11
          The People also charged Mr. Selivanov with four counts of embezzlement and
  27   two related money laundering counts (Counts 8, 19, 22, 23, 25, and 26) for
       transferring money out of Ivy Academia’s account against money owed to Mr.
  28   Selivanov and eGeneration. These charges also depended on the assumption that
                                               16
Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 17 of 33 Page ID #:17



   1         C.     California Charter School System
   2                1.     The Charter School Act of 1992
   3         22.    The Charter Schools Act was enacted, in part, to “disrupt
   4   entrenchment” of negative traits in the bureaucracy of the California public school
   5   system, Wilson v. State Bd. of Educ., 75 Cal. App. 4th 1125, 1130 (1999); to give
   6   charter schools “substantial freedom to achieve academic results free of
   7   interference by the public educational bureaucracy.” Wells v. One2One Learning
   8   Found., 39 Cal. 4th 1164, 1201 (2006).
   9         23.    California Education Code section 47610, commonly referred to as the
  10   “Mega-Waiver” provision, establishes the basic principle that permits charter
  11   schools to operate free of the rules that bind traditional public schools—including
  12   rules regarding the expenditure of funds—so long as the charter school meets or
  13   exceeds academic standards set out in Education Code section 47607(b) and/or its
  14   charter petition. Cal. Educ. Code §§ 47607(b), 47610. California Education Code
  15   section 47610 states: “A charter school shall comply with this part [Education Code
  16   Part 26.8 (the CSA)] and all of the provisions set forth in its charter, but is
  17   otherwise exempt from the laws governing school districts.” Cal. Educ. Code §
  18   47610 (emphasis added).
  19                2.     The Power to Determine How Charter School Funds are
  20                       Spent

  21         24.    Ivy Academia, like all California charter schools, receives funds from
  22   public sources. However, the expenditure of those funds is governed not by the
  23   strictures of a traditional public school district, but by the dictates of a charter
  24   school’s charter and governing body—its board of directors. This is an extension
  25   of the performance-based principle that underlies the Charter Schools Act. “The
  26
       the Lease/Loan agreement was not permitted even though it was considered and
  27
       approved by the school’s governing board. The requested review by this Court
  28   would therefore implicate these charges as well.

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Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 18 of 33 Page ID #:18



   1   autonomy, and independent responsibility, of charter school operators extend, in
   2   considerable degree, to financial matters.” Wells, 39 Cal. 4th at 1201. The intent is
   3   to challenge charter school leaders to find innovative practices and a more effective
   4   use of public funds to “provide vigorous competition within the public school
   5   system to stimulate continual improvements in all public schools.” Cal. Educ.
   6   Code § 47601(g).
   7         25.    Two types of grants dominated the public funds Ivy Academia
   8   received during the relevant years—general purpose grants, Cal. Educ. Code §
   9   47633(c), which “may be used for any public school purpose determined by the
  10   governing body of the charter school” Cal. Educ. Code § 47633(c)); and categorical
  11   block grants, Cal. Educ. Code § 47634.1(h), which may be used “for any purpose
  12   determined by the governing body of the charter school.” Cal. Educ. Code §
  13   47634.1(h). By law, therefore, it was the governing body of Ivy Academia that was
  14   authorized to spend these public funds, without regard to the restrictions generated
  15   by the rules, policies, and laws governing traditional public schools.
  16
                                PROCEDURAL HISTORY AND
  17
                             JURISDICTIONAL ALLEGATIONS
  18
  19         A.     Conviction on which petition is based
  20         26.    Offenses involved: Embezzlement pursuant to California Penal Code
  21   section 504 (six counts), Money Laundering pursuant to California Penal Code
  22   section 186.10(a) (two counts), and violation of California Revenue and Taxation
  23   Code section 19705(a) (ten counts).
  24         27.    For each of the counts of convictions pursuant to California Penal
  25   Code section 504, the trial court (but not the jury) found that funds embezzled were
  26   public funds, pursuant to California Penal Code section 514.
  27         28.    Case number: BA372244.
  28         29.    Date of conviction: April 5, 2013.

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Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 19 of 33 Page ID #:19



   1         30.    Date of sentence: October 4, 2013.
   2         31.    Total length of sentence: four years, eight months.
   3         32.    Plea: not guilty.
   4         33.    Kind of trial: jury.
   5         B.     Appeal to the California Court of Appeal
   6         34.    Mr. Selivanov filed a timely notice of appeal on November 15, 2013,
   7   and filed an amended notice of appeal on February 10, 2014.
   8         35.    Assigned case number: B252894.
   9         36.    Mr. Selivanov challenged his conviction on the following grounds:
  10   insufficient substantial evidence; jury instruction errors; admission of hearsay
  11   evidence without a proper foundation; abuse of discretion related to victim
  12   restitution; Apprendi error.
  13         37.    Date of decision: the California Court of Appeal issued its published
  14   opinion on November 17, 2016. See People v. Selivanov, 5 Cal. App. 5th 726 (Ct.
  15   App. 2016), as modified on denial of reh’g (Dec. 13, 2016). 12
  16         38.    Result: conviction affirmed.
  17         C.     Petition for Review in the California Supreme Court
  18         39.    Mr. Selivanov filed a timely petition for review in the California
  19   Supreme Court and a request for an order to de-publish the opinion on December
  20   27, 2016.
  21         40.    Assigned case number: S239154.
  22         41.    Date of Decision: March 15, 2017.
  23         42.    Result: denied without citation.
  24         43.    Mr. Selivanov did not file a petition for a writ of certiorari in the
  25   United States Supreme Court.
  26
  27   12
          On December 13, 2016, the California Court of Appeal modified its opinion
  28   with no change in the judgment.

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Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 20 of 33 Page ID #:20



   1         44.    Apart from the instant petition, Mr. Selivanov had not filed any habeas
   2   corpus petitions in federal court. 13
   3         D.     Jurisdiction and Venue
   4         45.    Mr. Selivanov is currently not in the custody of the California
   5   Department of Corrections and Rehabilitation (“CDCR”).
   6         46.    Upon his release from CDCR’s custody, on May 26, 2015, Mr.
   7   Selivanov was placed on Post-Release Community Supervision, pursuant to the
   8   Post-release Community Supervision Act of 2011. Cal. Pen. C. § 3450 et seq.
   9         47.    Mr. Selivanov was discharged from community supervision on May
  10   26, 2016 after a 12-month period of successful supervision where he had no returns
  11   to custody for any violation of his community supervision.
  12         48.    The offending ruling by the California Court of Appeal, which is the
  13   basis for claim one of this Petition, was handed down on November 17, 2016 and
  14   modified on December 13, 2016.
  15         49.    While Mr. Selivanov is not currently in actual custody (nor on
  16   probation or parole), he nonetheless suffers disabilities and restraints on his liberty
  17   as a result of his having been convicted of ten felonies. Chief among them is Mr.
  18   Selivanov’s inability to hold any office of honor, trust, or profit in California,
  19   pursuant to California Penal Code section 514.
  20         50.    These restraints will be just as real and substantial as those that were
  21   found to warrant an expansion of the availability of the writ of habeas in the past to
  22   persons not in actual custody. Mr. Selivanov will not have the right to do many
  23   things that free citizens are entitled to do, even those with felony convictions.
  24
  25
       13
  26      On October 22, 2013, Mr. Selivanov filed a petition for a writ of habeas corpus
       with the California Court of Appeal, challenging the trial court’s decision not
  27
       release him on bail pending appeal. On November 4, 2013, the California Court of
  28   Appeal summarily denied Mr. Selivanov’s petition.

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Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 21 of 33 Page ID #:21



   1         51.     Such disabilities and restraints are sufficient to give him standing to
   2   challenge his convictions in federal habeas corpus regardless of whether the filing
   3   of his petition occurred before or after the termination date of the challenged
   4   sentence.
   5         52.     It is not actual physical custody during service of a sentence that gives
   6   standing in habeas corpus; it is instead the restraint on liberty, whether physical or
   7   of a more subtle nature. See Glover v. State of N.C., 301 F. Supp. 364, 368
   8   (E.D.N.C. 1969). Brooks v. North Carolina Dept. of Correction, 984 F.Supp. 940
   9   (1997).
  10         53.     Mr. Selivanov currently resides in Calabasas, Los Angeles County,
  11   California.
  12
            STANDARDS UNDER THE ANTI-TERRORISM AND EFFECTIVE
  13
                         DEATH PENALTY ACT OF 1996 (“AEDPA”)
  14
  15         54.     The Anti-Terrorism and Effective Death Penalty Act of 1996
  16   (AEDPA, or the Act) generally limits a federal court’s ability to grant relief on
  17   claims that were adjudicated “on the merits” in state court proceedings, unless the
  18   adjudication resulted in a decision that was “contrary to” or involved an
  19   “unreasonable application of” clearly established federal law as determined by the
  20   United States Supreme Court, or if the adjudication resulted in a decision that was
  21   based on an “unreasonable determination of the facts[.]”28 U.S.C. § 2254(d)(1)-(2).
  22         55.     Section 2254(d) is phrased in the disjunctive, meaning that a petitioner
  23   overcomes this limitation on relief by satisfying either section 2254(d)(1) or (d)(2).
  24   Once a petitioner satisfies this standard, his claim is reviewed de novo. Nunes v.
  25   Mueller, 350 F.3d 1045, 1051 (9th Cir. 2003).
  26
  27
  28

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Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 22 of 33 Page ID #:22



   1                                 CLAIMS FOR RELIEF
   2    CLAIM ONE: MR. SELIVANOV’S RIGHT TO DUE PROCESS WAS VIOLATED BECAUSE
        THE CALIFORNIA COURT OF APPEAL RETROACTIVELY EXPANDED CALIFORNIA’S
   3   EMBEZZLEMENT LAW THEREBY ELIMINATING THE REQUIRED FAIR WARNING THAT
         A CRIMINAL STATUTE MUST PROVIDE AS TO THE CONDUCT THAT IT PROHIBITS
   4
   5         56.    The record in this case points to uncontroverted evidence that Mr.
   6   Selivanov’s challenged “embezzlements”—primarily his AMEX Card charges and
   7   the Lease/Loan transaction—were all approved by the funds’ owner: the school’s
   8   board of directors, or one of its members.
   9         57.    The California Court of Appeal acknowledged these approvals in its
  10   opinion. See, e.g., People v. Selivanov, 5 Cal. App. 5th 726, 739–40, 742–4, (Ct.
  11   App. 2016), as modified on denial of reh’g (Dec. 13, 2016), review denied (Mar.
  12   15, 2017).
  13         58.    Despite these approvals by the funds’ owner, the California Court of
  14   Appeal held that Mr. Selivanov was guilty of embezzling the school’s funds
  15   because “charter schools operate under the authority not only of their own charters
  16   and governing boards but also the broader umbrella of the LAUSD Charter School
  17   Division.” People v. Selivanov, 5 Cal. App. 5th at 751. Per the Court of Appeal’s
  18   ruling, even if the owner of the funds approves an expenditure, there can still be
  19   embezzlement, and the final arbiter of these prohibited actions is, as a result, not the
  20   owner of the funds, but rather the school’s authorizers, speaking through their
  21   employees. Id.
  22         59.    This application of the law of embezzlement is a novel and retroactive
  23   expansion of the otherwise narrow and precise definition of that law in California.
  24         60.    California Penal Code section 504, which underlined Mr. Selivanov’s
  25   convictions, is “an ordinary embezzlement statute which, like several others,
  26   specifically mentions the persons who come within the fiduciary relationships.” See
  27   2 Witkin, Cal. Crim. Law (4th), Crimes-Property § 43 (2012).
  28

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Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 23 of 33 Page ID #:23



   1         61.      “Fraudulent intent is an essential element of embezzlement.” People
   2   v. Sisuphan, 181 Cal. App. 4th 800, 813 (2010). “A person acts fraudulently when
   3   he or she takes undue advantage of another person or causes loss to that person by
   4   breaching a duty [of] trust or confidence.” CALCRIM 1806.
   5         62.    In determining whether a defendant’s intent was fraudulent at the time
   6   of the taking, the issue is whether he or she intended to use the property at issue for
   7   a purpose other than that for which the principal entrusted it to him or her. Id.; see
   8   also People v. Hodges, 153 Cal. App. 2d 788, 793 (1957) (“The gist of
   9   [embezzlement] is the appropriation to one’s own use of property delivered to him
  10   for devotion to a specified purpose other than his own enjoyment of it”]; People v.
  11   McClain, 140 Cal. App. 2d 899, 900 (1956) (“The intent essential to embezzlement
  12   is the intent to fraudulently appropriate the property to a use and purpose other than
  13   that for which it was entrusted.”) “The offense of embezzlement contemplates a
  14   principal’s entrustment of property to an agent for certain purposes and the agent’s
  15   breach of that trust by acting outside his authority in his use of the property.”
  16   Sisuphan, 181 Cal. App. 4th at 813-14.
  17         63.    At trial, the prosecution failed to present evidence showing, or even
  18   inferring, that Mr. Selivanov used the funds at issue for a purpose other than that
  19   for which the funds’ owner (the charter school) intended. The principal, in other
  20   words, had no issue with the manner in which the funds were spent, as
  21   demonstrated by the specific approvals the school’s governing board gave for the
  22   actions at issue.
  23         64.    Nonetheless, the Court of Appeal affirmed Mr. Selivanov’s
  24   embezzlement convictions by adding an additional avenue for liability. Under the
  25   Court of Appeal’s novel construction of the embezzlement offense, a person may be
  26   guilty of embezzlement even if he or she used the property at issue for a purpose
  27   that conforms with the principal’s wishes, as long as a third party, identified post-
  28   hoc, disapproved of the spending.

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Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 24 of 33 Page ID #:24



   1         65.    Because the Court of Appeal created an additional avenue of
   2   embezzlement liability after the fact, Mr. Selivanov was punished for conduct that
   3   was not criminal under California’s embezzlement law at the time Mr. Selivanov
   4   committed it.
   5         66.    This retroactive expansion of California’s embezzlement law
   6   eliminated the required fair warning that a criminal statute must provide as to the
   7   conduct that it prohibits and thus violated Mr. Selivanov’s right to due process
   8   under the Fifth and Fourteenth Amendments. Bouie v. City of Columbia, 378 U.S.
   9   347(1964); United States v. Lanier, 520 U. S. 259, 266 (1997).
  10         67.    The Court of Appeal’s ruling is squarely at odds with this basic notion
  11   of fairness. Simply put: Mr. Selivanov had no opportunity to know which of his
  12   “takings”—all approved by the owner of the funds—were nonetheless criminal
  13   embezzlements, because they were criminalized years later, by virtue of the Court
  14   of Appeal’s expansion of the offense of embezzlement. The otherwise precise law
  15   of embezzlement has therefore been unforeseeably and retroactively expanded by
  16   judicial construction.
  17         68.    “There can be no doubt that a deprivation of the right of fair warning
  18   can result . . . from an unforeseeable and retroactive judicial expansion of narrow
  19   and precise statutory language.” Bouie v. City of Columbia, 378 U.S. 347, 352
  20   (1964). “[J]udicial enlargement of a criminal act by interpretation is at war with a
  21   fundamental concept of the common law that crimes must be defined with
  22   appropriate definiteness.” Id. (citing Pierce v. United States, 314 U.S. 306, 311
  23   (1941)). “Indeed, an unforeseeable judicial enlargement of a criminal statute,
  24   applied retroactively, operates precisely like an ex post facto law, such as Art. I, s
  25   10, of the Constitution forbids.” Bouie, 378 U.S. at 353.
  26         69.    Penal Code 504 (like other forms of embezzlement) contemplates “a
  27   principal’s entrustment of property to an agent for certain purposes and the agent’s
  28

                                                  24
Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 25 of 33 Page ID #:25



   1   breach of that trust by acting outside his authority in his use of the property.”
   2   Sisuphan, 181 Cal. App. 4th at 813-14.
   3          70.     Much like in Bouie, section 504 of California’s Penal Code did not
   4   give Mr. Selivanov fair warning, at the time of his conduct in question, that the acts
   5   for which he now stands convicted were rendered criminal by the statute. Id. at
   6   355. Nowhere in Penal Code 504, or in its then-controlling judicial construction,
   7   did it indicate that a defendant could be guilty of embezzlement even when acting
   8   inside his authority when using the property. Nothing in the statute indicated that it
   9   also prohibited the use of property against the wishes of a yet-to-be-determined
  10   third party.
  11          71.     And indeed, in Mr. Selivanov’s case, the jury instructions identified
  12   Ivy Academia as the funds’ owner and made no mention of the LAUSD or any other
  13   party in that context. The instructions also instructed the jury that a “good faith
  14   belief in acting with authorization to use the property is a defense.” [24CT 4481
  15   (jury instructions given).]
  16          72.     Mr. Selivanov, therefore, did not violate the California embezzlement
  17   statute as it was written; he received authorization to use the funds in question as he
  18   did from the only entity that mattered under the law: Ivy Academia—the funds’
  19   owner. So far as the California embezzlement statute was concerned, Mr.
  20   Selivanov was given not only no “fair warning,” but no warning whatever, that his
  21   use of the funds entrusted to him by Ivy Academia would violate the embezzlement
  22   statute.
  23          73.     The Court of Appeal’s decision likewise violated Mr. Selivanov’s due
  24   process rights because it allowed non-principals (in this case, the LAUSD and the
  25   Los Angeles County District Attorney) to override, after the fact, the decisions of
  26   the funds’ owners.
  27          74.     The Court of Appeal’s ruling effectively “delegate[d] basic policy
  28   matters to policemen, judges, and juries for resolution on an ad hoc and subjective

                                                  25
Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 26 of 33 Page ID #:26



   1   basis, with the attendant dangers of arbitrary and discriminatory application.”
   2   Grayned v. City of Rockford, 408 U.S. 104, 108-09 (1972).
   3         75.    Indeed, at trial, the prosecution relied upon the testimony of Ms. Delos
   4   Santos, a financial analyst at LAUSD-OIG and a CPA with little prior experience in
   5   charter school audits. To evaluate which AMEX Card purchases she deemed
   6   “disallowed,” Ms. Delos Santos came up with her own criteria: she disallowed all
   7   meals charged by Mr. Selivanov to the AMEX Card, unless the meal accompanied
   8   a business meeting lasting more than five hours, or unless the meal was related to a
   9   conference taking place away from Los Angeles. [10RT 3437-38.]
  10         76.    Ms. Delos Santos also disallowed all teacher appreciation events
  11   charged to the AMEX Card unless the event had a specifically delineated
  12   professional development component. [11RT 3659-60.]
  13         77.    Ms. Delos Santos could not cite to any particular rule, regulation, or
  14   statute that informed her decision to disallow, after the fact, these particular meals
  15   and teacher appreciation events (but not others).14 She equally could not explain
  16   why she picked these criteria (and not others).
  17         78.    By applying its post-hoc novel construction of embezzlement, the
  18   California Court of Appeal effectively endorsed Ms. Delos Santos’ arbitrary and
  19   capricious analysis of which of Mr. Selivanov’s use of funds was and was not
  20   criminal.
  21         79.    The California Court of Appeal’s decision was “contrary to” clearly
  22   established federal law as determined by the United States Supreme Court because
  23   in applying its new construction of the California embezzlement statute to affirm
  24   Mr. Selivanov’s convictions, the Court of Appeal has deprived Mr. Selivanov of
  25   rights guaranteed to him by the Due Process Clause.
  26
  27   14
          Accordingly, it was undisputed at trial that no document existed that put Mr.
  28   Selivanov on notice as to Ms. Delos Santos’ arbitrary restrictions.

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Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 27 of 33 Page ID #:27


        CLAIM TWO: MR. SELIVANOV’S RIGHT TO A JURY TRIAL WAS VIOLATED BECAUSE
   1   HIS CRIMINAL SENTENCE WAS INCREASED BEYOND ITS STATUTORY LIMITS BASED
       ON FACTS FOUND TO BE TRUE BY THE TRIAL JUDGE AND NOT BY THE JURY BEYOND
   2                             A REASONABLE DOUBT
   3         A.     Procedural Background
   4         80.    The Information in this case charged Mr. Selivanov with six counts of
   5   embezzlement by a private or public officer, pursuant to California Penal Code
   6   section 504. As to each of these counts, the Information added the special
   7   allegations that “the said embezzlement and defalcation was of [the] public funds
   8   within the meaning of [California] Penal Code section 514.”
   9         81.    Mr. Selivanov has never admitted these allegations, nor did he waive
  10   his right to a jury trial concerning these allegations.
  11         82.    The prosecution never sought to have the jury make a finding on these
  12   allegations, and nothing in the verdict forms refers to or answers the question of
  13   whether the funds involved in the embezzlement counts were “public funds”
  14   pursuant to California Penal Code section 514.
  15         83.    In fact, with respect to these embezzlement counts, the jury was
  16   specifically instructed that the owner of the funds in question was Alternative
  17   Schools, Inc., dba Ivy Academia Charter School. The jury was never instructed it
  18   had to find the funds involved were “public.”
  19         84.    During the sentencing hearing (without any notice) the prosecution
  20   asked the trial court to make a California Penal Code section 514 finding “in light
  21   of them being public officials.” [22RT 10297.] The prosecution added (correctly)
  22   that “that would have an impact in terms of the sentencing.” [Id.] Thereafter, the
  23   trial court proceeded to sentence the defendants but made no section 514 finding.
  24   Just before Mr. Selivanov was taken into custody, the prosecution again requested
  25   that the court make the finding:
  26                Excuse me, your honor, before the defendant leaves,
                    pursuant to penal code 514, we believe we need a finding
  27
                    made by the court that this involved embezzlement of
  28

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Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 28 of 33 Page ID #:28



   1                  public funds, because that would render the defendants
                      ineligible to hold public office.
   2
       [22RT 1032.]
   3
                   85.Over the defense’s objections, the trial court acquiesced to the
   4
                      prosecution’s request:
   5
                      I do make the finding that these were public funds and
   6                  that he embezzled public funds, and the public funds
                      being the funds from the school, Ivy Academia, which is
   7
                      a public school.
   8
       [22RT 10313.]
   9
             86.      Mr. Selivanov moved the trial court to correct his sentence, but the
  10
       trial court refused to strike its section 514 findings.
  11
             B.       Argument
  12
  13         87.      The trial court’s section 514 finding was contrary to clearly established

  14   federal law as determined by the United States Supreme Court.

  15         88.      The trial court’s section 514 finding violated Apprendi v. New Jersey,

  16   530 U.S. 466 (2000) (Apprendi) and Alleyne v. United States, 570 U.S. 99 (2013)

  17   (Alleyne), which require any fact that increases the statutory maximum (Apprendi)

  18   or mandatory minimum (Alleyne) punishment to be found by a jury beyond a

  19   reasonable doubt.

  20         89.      By making the contested section 514 finding, the trial court

  21   impermissibly increased Mr. Selivanov’s maximum and minimum penalties in three

  22   distinct ways: (1) it removed California Penal Code section 504 from “wobbler”

  23   status; (2) it imposed mandatory state prison incarceration where probation is

  24   denied; and (3) it barred Mr. Selivanov from holding public office.

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Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 29 of 33 Page ID #:29



   1                1.    The trial court’s section 514 finding increased Mr.
                          Selivanov’s punishment by removing the offenses from
   2                      “wobbler” status
   3         90.    In California, embezzlement of money or property valued at more than
   4   $950, is, like its grand theft counterpart, a “wobbler”—a crime that “in the trial
   5   court’s discretion, may be sentenced alternately as [a] felon[y] or misdemeanor[].”
   6   People v. Superior Court (Alvarez), 14 Cal.4th 968, 974 (1997); see also People v.
   7   Stanfill, 76 Cal. App. 4th 1137, 1144-1145 (1999). California Penal Code section
   8   489(c) is the source of this discretion. It provides that grand theft (with narrow
   9   exceptions not applicable here) is punishable “by imprisonment in a county jail not
  10   exceeding one year or pursuant to subdivision (h) of Section 1170.” (emphasis
  11   added)
  12         91.    Under this wobbler scheme, at sentencing, the trial court had the
  13   discretion to choose whether Mr. Selivanov should be subject to felony or
  14   misdemeanor punishment. As a result, the punishment floor Mr. Selivanov faced
  15   was that provided in section 489 (c), “imprisonment in a county jail not exceeding
  16   one year.” Even if it was unlikely that the trial court would have exercised its
  17   discretion to sentence Mr. Selivanov as if he were convicted for misdemeanor
  18   embezzlement, it would have had that option.
  19         92.    After the “public funds” finding was made, however, the trial court
  20   lost its discretion to sentence defendants to a misdemeanor punishment. Under
  21   section 514, the embezzlement of public funds “is a felony, and is punishable by
  22   imprisonment in the state prison.” Cal. Pen. C. § 514. The minimum punishment to
  23   which Mr. Selivanov was subject accordingly rose to the low term of the felony
  24   triad—16 months—based on the trial court’s finding.
  25         93.    In Alleyne, the Supreme Court determined that “facts that increase the
  26   mandatory minimum sentence are [] elements [of the offense] and must be
  27   submitted to the jury and found beyond a reasonable doubt.” Alleyne, 570 U.S. at
  28   108 (emphasis added). “The essential point is that the aggravating fact produced a

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Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 30 of 33 Page ID #:30



   1   higher range, which, in turn, conclusively indicates that the fact is an element of a
   2   distinct and aggravated crime. It must, therefore, be submitted to the jury and
   3   found beyond a reasonable doubt.” Id. at 116.
   4         94.    The section 514 “public funds” finding had the effect of eliminating
   5   the trial court’s discretion to sentence Mr. Selivanov to a lower, misdemeanor
   6   sentence, to be served in county jail. In other words, while Mr. Selivanov was
   7   subject to felony punishment with or without the “public funds” finding, with the
   8   finding, he was subject only to felony punishment. Under Alleyne, the finding
   9   should have therefore been made by the jury, not by the trial court.
  10
                    2.     The trial court’s section 514 finding increased Mr.
  11                       Selivanov’s punishment because it imposed mandatory state
  12                       prison incarceration
  13         95.    Because of the trial court’s section 514 “public funds” finding, Mr.
  14   Selivanov was required to serve his custodial time in state prison, as opposed to the
  15   local custody that is required for most offenders convicted of embezzlement under
  16   Realignment. 15
  17         96.    Time served locally is less punitive than time served in state prison.
  18         97.    By making the section 514 “public funds” finding, the trial court took
  19   the option of local custody away without a jury finding, thus increasing—in
  20   violation of Apprendi—the punishment available for embezzlement pursuant to
  21   Penal Code section 504.
  22         98.    Moreover, under Realignment, the trial court had discretion to suspend
  23   execution of a portion of Mr. Selivanov’s county jail term and place him on
  24
  25   15
           See Couzens & Bigelow, Felony Sentencing After Realignment (July 2013 rev.)
  26   at 102, which lists, in Appendix I, “504/514" as requiring a state prison sentence,
       compared with section 489(b), listed therein as punishable by local custody under
  27
       section 1170, subdivision (h). Available at
  28   www.courts.ca.gov/partners/documents/felony_sentencing.pdf

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Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 31 of 33 Page ID #:31



   1   mandatory supervision, which could have significantly reduced the period of actual
   2   custody (often called “split” or “blended” sentences). See Cal. Pen. C. § 1170
   3   (h)(5)(B); People v. Wilcox, 217 Cal. App. 4th 618, 621 (2013). Again, this option
   4   was removed once the trial court made its section 514 finding because the
   5   embezzlement convictions were no longer subject to sentencing under Penal Code
   6   section 1170(h).
   7
                    3.     The trial court’s section 514 finding increased Mr.
   8                       Selivanov’s punishment because it barred Mr. Selivanov
   9                       from holding public office
  10         99.    The Court’s “public funds” finding under Penal Code section 514 also
  11   violated Apprendi because it supported a disqualification from holding public
  12   office—an added penalty not available for simple embezzlement convictions under
  13   Penal Code § 504 alone.
  14         100. The lifetime ban on holding public office stemming from a section 514
  15   finding is punitive. It therefore provides an additional basis for finding that Mr.
  16   Selivanov had a right to a jury trial on the truth of the “public funds” allegation
  17   under the federal Constitution.
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Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 32 of 33 Page ID #:32



   1                                 PRAYER FOR RELIEF
   2         Mr. Selivanov therefore requests that this Court:
   3         1.     Issue the writ of habeas corpus, vacate Mr. Selivanov’s convictions
   4                and sentence, and grant any additional relief appropriate in the interest
   5                of justice
   6         2.     In the alternative, conduct an evidentiary hearing at which proof may
   7                be offered concerning all of the allegations in the Petition.
   8
   9
       Dated:     June 12, 2018                Respectfully submitted,
  10
  11                                           KENDALL, BRILL & KELLY, LLP

  12                                           By: /s/Jeffrey H. Rutherford
  13                                                Jeffrey H. Rutherford

  14
  15                                           CROWELL & MORING LLP

  16                                           /s/Nimrod Haim Aviad
  17                                            Nimrod Haim Aviad

  18
  19                                           Attorneys for Petitioner,
                                               YEVGENY (EUGENE) SELIVANOV
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Case 2:18-cv-05200-RSWL-JDE Document 1 Filed 06/12/18 Page 33 of 33 Page ID #:33



  1                                     VERIFICATION
  2   I, Yevgeny Selivanov, declare and state as fo llows:
  3         1.     I am the petitioner to whom the foregoing Petition for Writ of
  4   Habeas Corpus relates.
  5         2.     I have read the foregoing petition for writ of habeas corpus. I affirm
  6   that all the matters al leged here are true of my own personal knowledge or are
  7   supported by the record in my trial and direct appeal, and by the attached exhibits.
  8
  9         I verify under penalty of perjury that the foregoing is true and correct.
 10   Executed on June ja 2018, at Calabasas, California .
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                                                     By:   __._fi?s
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                                                             Yevgeny (Eugene) Selivanov
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